10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1342 Page 1 of 44

JEROME R. AIKEN (WSBA NO. 14647)

Meyer, Fluegge & Tenney, P.S. Honorable Salvador Mendoza, Jr.
230 S. Second Street / P.O. Box 22680

Yakima, WA 98907-2680

Phone: (509) 575-8500

Email: aiken@mftlaw.com

Attorneys for Plaintiffs James Blais and Gail Blais

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

JAMES BLAIS and GAIL BLAIS, on)
behalf of themselves and all others ) NO. 20-CV-00187-SMJ
similarly situated, )
) SECOND AMENDED CLASS
Plaintiffs, ) ACTION COMPLAINT FOR
) DECLARATORY RELIEF AND
VS. ) PRELIMINARY AND PERMANENT
) INJUNCTION
ROSS HUNTER, in his official )
capacity of Secretary of Washington __)
State Department of Children, Youth )
and Families, )
)

Defendant.

 

James and Gail Blais, individually and on behalf of all others similarly
situated, bring the following action for declaratory relief and preliminary and

permanent injunction.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 1 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1343 Page 2 of 44

I. INTRODUCTION

1. James and Gail Blais are residents of the state of Washington who
wish to foster, and eventually adopt, their great-granddaughter, H.V., who has been
removed from her mother’s custody by the state of Idaho.

2. As part of the process to secure a foster parent license overseen by the
Washington State Department of Children, Youth and Families, headed by
Defendant Ross Hunter (collectively, the Department), the Department conducted a
home study of the Blaises.

3. The Blaises proved qualified to be foster parents in every respect
except one.

4. During the home study, the Blaises were asked how they would
support a hypothetical foster child who might in the future develop or identify as
lesbian, gay, bisexual, transgender, or questioning (LGBTQ+).

5. The Blaises responded that they would love and support the child, but
— consistent with their sincerely held religious beliefs — they could not presently
affirm that they would agree to call H.V. by a name other than her legal name, use
pronouns that are inconsistent with H.V’s birth sex, or support the child in

undergoing counseling or medical procedures to transition to the opposite sex.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
‘ . MEYER, FLUEGGE & TENNEY, PS.
Permanent Injunction - 2 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12:

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1344 Page 3 of 44

6. The Department repeatedly pressed the Blaises to get “educated” on
this issue, to change their views, and, after the Blaises still declined, the
Department denied their application, thereby barring them from providing any
foster care services ever, including for their own great-granddaughter.

7. The Blaises are not unique. The Department has denied applications
for foster care licenses to other well-qualified individuals on the basis that their
sincerely-held religious beliefs did not comport with the Department’s LGBTQ+
policies. The Department demanded that these individuals, like the Blaises, make
a blatantly unconstitutional choice: abandon their sincerely-held religious beliefs or
lose the opportunity to be considered as foster parents.

8. The Department’s actions are subject to strict scrutiny under federal
law, and because the Department has other ways to pursue its alleged interests
without completely barring the Blaises and other individuals from serving as foster
parents, the Department’s actions cannot survive that inquiry.

9. On behalf of themselves and others similarly situated, the Blaises thus
seek a declaratory judgment and injunctive relief confirming that Defendant
violated their rights under the Free Exercise and Free Speech Clauses of the First
Amendment and under the Substantive Due Process Clause of the Fourteenth

Amendment.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
: : MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 3 230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1345 Page 4 of 44

10. This action arises under the provisions of the First and Fourteenth

Amendments to the United States Constitution pursuant to 42 U.S.C. § 1983.
If. THE PARTIES

11. James Blais is a resident and domicile of the State of Washington. He
is an observant and practicing member of the Seventh-day Adventist Church. He
has been married to Gail Blais since 2013.

12. Gail Blais is a resident and domicile of the State of Washington. She
is an observant and practicing member of the Seventh-day Adventist Church. Gail
was previously married from 1968 to 2011, when her first husband died of cancer.
She has two children from her first marriage. The Blaises have no biological
children together.

13. Defendant Ross Hunter is Secretary of the Washington State
Department of Children, Youth, and Families. The Department administers a foster
licensing and placement program pursuant to Washington state law. As Secretary,
Defendant Hunter is responsible for administering that program, as well as
ensuring that the Department meets it obligations to license foster parents and
provide for the care, protection and development of children in state custody. At all

times material to this lawsuit, Defendant Hunter acted within the course and scope

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
: ° MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 4 230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1346 Page 5 of 44

of his duties as a public employee, was a state actor, and acted under color of state
law.
I. JURISDICTION AND VENUE
14. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§
1331, 1343, and 1367(a).
15. This Court has personal jurisdiction over Defendant.
16. Venue is proper in this judicial district pursuant to 28 U.S.C.
§1391(b).
IV. GENERAL ALLEGATIONS
The Blaises and their Religious Beliefs
17. The Blaises are observant members of the Seventh-day Adventist
faith.
18. The Seventh-day Adventist faith is a Protestant Christian faith that
places a strong emphasis on family life.
19. Within the family structure, parenting is recognized as both a
wonderful blessing and an incredible challenge. But Seventh-day Adventists
believe that these challenges provide an opportunity for growth and afford many

opportunities for parents and children to grow and develop into the image of God.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
° : MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 5 230 South Second Street » P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1347 Page 6 of 44

20. Seventh-day Adventists believe that parents are to bring up their
children to love and obey the Lord. Parents “must gain a sympathetic
understanding of their [children’s] problems, seek to provide for them a Christian
social environment, and spiritually draw near them so [they] can impart the ideals,
inspiration, and power of Christianity.” Seventh-day Adventist Church Manual
(19th ed. 2015) at 152.!

21. As followers of Jesus, the Church strives to treat all people with
dignity and respect. The Bible commands followers of Christ to love everyone.
Created in the image of God, they must be treated with dignity and respect. This
includes people of all sexual orientations and gender identities. The bible
commands “You shall love your neighbor as yourself” (Mark 12:31).

22. Seventh-day Adventists believe that Scripture provides principles for
guidance and counsel to those who experience incongruity or uncertainty between
their biological sex and gender identity. As with all facets of daily existence,
Seventh-day Adventists seek guidance from God through Scripture to determine

what is in their best interest and to live according to His will (2 Tim 3:16).

 

' The Seventh-day Adventist Church Manual is a Scripture-based guide that
describes the operation and function of church organization and governance, and
sets forth many standards of Christian living central to the Seventh-day Adventist
faith.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. : MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 6 230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1348 Page 7 of 44

23. Seventh-day Adventists believe that Scripture provides principles for
guidance and counsel to those who experience incongruity or uncertainty between
their biological sex and gender identity. As with all facets of daily existence,
Seventh-day Adventists seek guidance from God through Scripture to determine
what is in their best interest and to live according to His will (2 Tim 3:16),

The Blaises’ Desire to Become Licensed Foster Parents

24. Gail Blais and her first husband had two children. Her son, in turn,
had five children. One of his daughters had two children, including a daughter,
H.V. Gail Blais is thus H.V.’s biological great-grandmother.

25. H.V. was born in September 2019 in Idaho.

26. Shortly after her birth, and while still in the hospital, H.V. was
removed from her biological parents and placed in foster care in Idaho based on
concerns for her welfare.

27. In December 2019, the Idaho Department of Health and Welfare—
which oversees the Idaho foster and adoptive care program—contacted the Blaises
about H.V. and, in response, the Blaises expressed an interest in fostering and

potentially adopting H.V.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
: : MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 7 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1349 Page 8 of 44

The Department’s Licensing Requirements for Foster Homes

28. In Washington the licensing requirements for foster homes are
governed by Chapter 110-148 of the Washington Administrative Code. These
requirements are “designed to ensure children who are in foster care are safe,
healthy and protected from all forms of child abuse and neglect.” WAC 110-148-
1300.

29. An applicant must (i) be at least 21 years of age; (ii) have sufficient
income to support the applicant without relying on foster care payments; (iii)
complete training in First Aid/CPR, HIV/AIDs, and blood borne pathogens; (iv)
submit a negative tuberculosis test dated within the last year; and (v) have current
pertussis and influenza immunizations. WAC 110-148-1320; 110-148-1365; 110-
148-1375.

30. In addition, the applicant and all adult household members must pass
a background clearance check with the FBI and Washington State Patrol. WAC
110- 148-1320.

31. Before granting a foster license, the Department also assesses both the
applicant’s “ability to provide a safe home and to provide the quality of care
needed by children placed in the home,” as well as whether the applicant meets the

Department’s training requirements. WAC 110-148-1320.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
* . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 8 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1350 Page 9 of 44

32. An applicant is required to demonstrate “[t]he understanding, ability,
physical health, emotional stability, and personality suited to meet the physical,
mental, emotional, cultural and social needs of children under their care,” that they
have “functional literacy,” are “able to communicate with the child, the
department, health care providers, and other service providers,” and “may not use
drugs or alcohol .. . in a manner that affects [the applicant’s] ability to provide safe
care to children” WAC 110-148-1365.

33. Of utmost importance, applicants “must demonstrate they have the
ability to furnish children with a nurturing, respectful, and supportive
environment.” WAC 110-148-1365.

34. There is nothing under Washington law that authorizes the
Department to impose any additional licensing requirements not set forth in the
applicable regulations.

35. There is nothing under Washington law that imposes as a separate
licensing requirement that prospective applicants must consider and definitively
determine how they will care for a hypothetical child at some point in the distant

future.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
° * MEYER, FLUEGGE & TENNEY, P.S,
Permanent Injunction - 9 230 South Second Street - P.O. Box 22680

Yakima, WA 98907-2680
‘Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1351 Page 10 of 44

Licensed Foster Parents’ Duty Towards Children In Their Care
36. After a home has been licensed, the Department then identifies the
maximum number, age range, and gender of the children that may be placed” in
the foster home, based on the foster parent’s “skills, the number of care providers,
the physical accommodations of [the] home and the needs of the children placed in
[the] home.” WAC 110-148-1385.

37. For children placed by the Department, foster parents must “make all
reasonable efforts to ensure that children are not abused or neglected.” WAC 110-
148-1520. Foster parents “must provide and arrange for care that is appropriate for
the child's age and development including: (a) Emotional support; (b) Nurturing and
affection; (c) Structured daily routines and living experiences; and (d) Activities
that promote the development of each child. This includes cultural and educational
activities in your home and the community.” WAC 110-148-1520.

38. With regard to infants and young children, the Department specifies
that foster parents “must: (a) Hold infants, under the age of six months, for all bottle
feedings; (b) Hold infants at other times for the purposes of comfort and attention;
and (c) Allow children plenty of free time outside of a swing, crib or playpen.”

WAC 110-148-1520(3).

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. ° MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 10 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 

 
10

11

12

13

14

15

16

17

18

19

20

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1352 Page 11 of 44

39. The Department also specifies that foster parents “must follow all
state and federal laws regarding nondiscrimination while providing services to
children in your care. You must treat foster children in your care with dignity and
respect regardless of race, ethnicity, culture, sexual orientation and gender identity.”
WAC 110-148-1520(6).

40. Foster parents similarly “must connect a child with resources that
meets a child’s needs regarding race, religion, culture, sexual orientation and gender
identity. These include cultural, educational and spiritual activities in your home
and community including tribal activities within the child's tribal community or
extended tribal family.” WAC 110-148-1520(7). The child’s social worker or case
manage is tasked to assist “with identifying these resources.” Jd.

41. Licensed foster parents also “must ensure that children receive
appropriate medical and dental care.” WAC 110-148-1550.

The Department’s Policy to Support LGBTO+
Children and Youth

42. In July 2018, the Department enacted Policy 6900, entitled
“Supporting LGBTQ+ Identified Children and Youth.”
43, The Policy explicitly “applies to [Department] staff,” and does not

address the extent or manner in which it applies to foster families.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 11 230 South Second Street - P.O. Box 22680

Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 _ filed 12/09/20 PagelD.1353 Page 12 of 44

44, The Policy’s stated purpose is “[t]o address the specific needs of
children and youth under the age of 21 receiving Children’s Administration (CA)
services who are developing, discovering, or identifying themselves as lesbian,
gay, bisexual, transgender and questioning (LGBTQ+)” and to “provide guidance
to assist CA staff in identifying and referring LGBTQ+ children and youth to
appropriate and culturally responsive services.”

45. Under the Policy, a caseworker must “[c]lonsider the child or youth’s
LGBTQ+ identity as a factor when making placement decisions,” including
“[d]Jetermining, on a case-by-case basis, which placement option would be in the
child or youth’s best interest for their safety and well-being.” (Emphasis added.)

46. The Policy also mandates that a caseworker “[s]upport any youth
identifying as transgender and seeking gender affirming medical services. This
includes, but is not limited to: Following the advice of the medical and therapeutic
professionals working with the youth. Standard medical protocols must be
followed.”

47. The Policy further authorizes a caseworker to “[o]btain[] a court
order or parent or legal guardian consent before providing consent for a youth to

undergo gender affirming related medical care” such as “Hormone blockers,”

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
* e MEYER, FLUEGGE & TENNEY, P.S.
Permanent Inj unction - 12 230 South Second Street - P.O. Box 22680

Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1354 Page 13 of 44

“Hormone Replacement Therapy (HRT),” or “Behavior Health Services (Gender
Dysphoria).”

48. There is nothing in Policy 6900 that applies to the Department’s foster
parent licensing requirements or that authorizes the Department to impose any of
the Policy’s caseworker mandates on prospective foster parents.

49. There is nothing in Policy 6900 that imposes any separate foster
parent licensing requirement with which applicants must comply.

50. There is nothing in Policy 6900 that applies to children who are not
within the Department’s custody and care, and nothing that applies to hypothetical
children who may be in the Department’s custody and care sometime in the future
from the date of the prospective foster parents’ application.

Foster Care in Washington

51. As of June 2018, Washington had approximately 9,200 children and
youth in out-of-home placements, with only about 5,110 available foster homes.

52. Thus, a growing number of children are removed from their families
only to enter a foster care system that cannot even place them in a home. Hundreds
of these children spend countless nights in hotels, while others are sent out of state

to group facilities with questionable practices.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
° . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 13 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1355 Page 14 of 44

53. In short, Washington has a foster care crisis caused by too many
children in need of the State’s care and protection and not enough qualified
licensed foster homes in which to place them.

The Department’s Family Home Study Guide

54. In January 2020, the same month the Blaises applied for a license, the
Department revised its “Family Home Study Guide” and its related “Family Home
Study Questions and Prompts,” which identifies questions Foster Care Licensors
can ask families in conducting a home study.

55. Although the Department enacted Policy 6900 in 2018, the earlier
versions of these guidance documents did not contain questions about foster
children who identify, or may at some time in the future identify, as LGBTQ+.

56. The guide does not suggest how a foster-care applicant must respond
to these questions to qualify for the license.

57. The document specifically states that its purpose is only “to provide
workers with a framework for interviews. The purpose of this guide is to provide
workers with a framework for interviews. This guide is not intended to be the only
source of questions or topics during the process, as the worker’s responsibility is to
complete a holistic assessment to ensure that foster family homes are safe and

suitable for foster children.”

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
® * MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 14 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1356 Page 15 of 44

The Blaises’ Home Study

58. In early January 2020, around the same time that the new “Family
Home Study Questions & Prompts” issued, the Blaises heard from Patrick Sager,
the Foster Home Licensor assigned to conduct their home study.

59. After the Blaises confirmed their interest in becoming foster parents,
Mr. Sager provided them with information about the Washington foster-parent
license process and that same month sent a link where they could take online
Caregiver Core Training and secure a certificate of completion.

60. The Blaises were also contacted by Amber Moody, a Recruiter Peer
Mentor, who works with the Department in Eastern Washington to provide support
to relative/foster/ adoptive families in Stevens County.

61. Amber Moody provided the Blaises with additional information about
the Caregiver Core Training program, certification classes for CPR training, and
foster parent orientation sessions in their area.

62. In mid-January 2020, Mr. Sager interviewed the Blaises and
performed an inspection of their home.

63. At the time of the interview, Gail Blais had begun the training

mandated by the Department to become a licensed foster parent. The interview

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Inj unction - 15 230 South Second Street - P.O. Box 22680

Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1357 Page 16 of 44

with Gail lasted approximately 90 minutes and the interview with James took
roughly one hour.

64. At the time of the interview, H.V. was four months old.

65. During Mr. Sager’s interviews of Gail and James:

a. Mr. Sager was aware that both Gail and James are observant
members of the Seventh-day Adventist faith.

b. Mr. Sager asked a number of appropriate questions dealing
directly with the Washington foster parent licensing requirements focusing
on such things as the Blaises’ family history, the manner in which Gail and
James had raised their children, communication issues, dietary
considerations, and the use of corporal punishment.

C. In addition to these questions, Mr. Sager also extensively
questioned both Gail and James with regard to hypothetical issues related to
H.V.’s possible future sexual orientation and gender identity.

66. These questions included such things as:
a. How would the Blaises react if H.V. was a lesbian?
b. Would the Blaises allow H.V. to have a girl spend the

night at their home as H.V.’s romantic partner?

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
‘ . MEYER, FLUEGGE & TENNEY, P.S,
Permanent Injunction - 16 230 South Second Street « P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1358 Page 17 of 44

C. If at 15 years old, H.V. wanted to undergo hormone
therapy to change her sexual appearance, would the Blaises support
that decision and transport her for those treatments?

d. _— If, as a teenager, H.V. wanted to dress like a boy and be
called by a boy’s name, would the Blaises accept her decision and
allow her to act in that manner?

67. Gail and James were both surprised and taken aback by these
questions. Given that H.V. was only 4 months old, they had a difficult time
imagining how they would respond to circumstances that may or may not occur 15
years into the future. Nonetheless, both Gail and James cooperated with the
interview and responded to all of the questions openly, honestly, and in a manner
consistent with their religious beliefs.

68. Gail and James made clear to Mr. Sager that, as Seventh-day
Adventists, they believe it is important and part of their Christian obligation to love
and support all. This duty especially applies to youth who may feel isolated or
uncomfortable because of who they are, including those who are realizing their
sexual orientation or identity. The Blaises made clear that they would provide a
supporting and loving home for any child placed under their care—particularly

their own great-granddaughter—regardless of how that child might identify.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. ° MEYER, FLUEGGE & TENNEY, PS.
Permanent Inj unction - 17 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1359 Page 18 of 44

69. With regard to the specific hypothetical questions relating to possible
hormone therapy, the Blaises responded that although they could not support such
treatments based on their sincerely-held religious convictions, they absolutely
would be loving and supportive of H.V.

70. The Blaises also indicated that, in the unlikely event H.V. may
develop gender dysphoria (or any other medical condition) as a teenager or young
adult, they would provide her with loving, medically and therapeutically
appropriate care that is consistent with both then-current medical principles and
their beliefs as Seventh-day Adventists and Christians.

71. At the conclusion of the interview, Mr. Sager indicated that, most
likely, the Department would not approve the Blaises’ application to become foster
parents. According to Mr. Sager, the Blaises’ responses to questions about H.V.’s
future gender identity were inconsistent with the Department’s policy to support
LGBQT+ children and youth.

72. In early February 2020, Mr. Sager emailed James Blais and stated that
he had been “tasked with ensuring you are provided relevant information and
research regarding LGBTQ+ youth in foster care.” Mr. Sager asked James to

review these materials so that he might “make a more informed decision about

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
@ e MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 18 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (609) 575-8500

 

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1360 Page 19 of 44

supporting LGBTQ+ youth in foster care.” In response, James promised they
would review the materials within the coming week.

73. In mid-February, after having read those materials, James and Gail
responded to Mr. Sager. They reiterated their sincerely-held religious belief in
loving all persons regardless of their sexual orientation or identity. They repeated
their commitment to provide a loving and supportive home for any foster child in
their care. And they again expressed their conviction—based on their faith—that
they could not support hormone treatment for transition purposes. They also stated
that they did not think that their religious beliefs were incompatible with providing
care for gender dysphoria or any other issue, and committed to providing H.V. the
best care and most loving home that they can.

74. The Blaises repeated that they would love nothing more than to
welcome H.V. into their home and raise her as their own child, with the same
unconditional love they showed to their other children. They asked the Department
to approve their application to become foster parents, and offered to meet again in
order to further explain their position and beliefs.

75. Mr. Sager emailed James and thanked him for his honesty. He also
informed James “that this is being staffed with additional parties” and that “this

will be discussed further.”

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. e MEYER, FLUEGGE & TENNEY, P.S.
Permanent Inj unction - 19 230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1361 Page 20 of 44

76. During this same time period (January and February 2020), Gail and
James were in contact with the Idaho Department of Health and Welfare about a
possible visit with H.V. They finally were able to travel to Idaho and meet with
H.V. in late February.

77. Soon after Gail and James returned from visiting H.V. in Idaho, Mr.
Sager called them. During this telephone call, Mr. Sager asked additional questions
concerning H.V.’s possible future sexual orientation and gender identity. These
questions included

a. If H.V. had a lesbian girlfriend, would the Blaises be willing to
have her visit their home and possibly travel with them?

b. | Would the Blaises find it acceptable if H.V. dressed like a boy?

C. Would the Blaises find it acceptable if H.V. wanted to be called
by a boy’s name?

d.  Ifat age 14, a doctor ordered H.V. to undergo hormone therapy
to change her sexual appearance, would the Blaises comply with that order?

e. If at age 14, H.V. said that if the Blaises did not agree with her
having hormone therapy she would leave their home and run away, how

would they respond?

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
° . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Inj unction - 20 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1362 Page 21 of 44

78. Mr. Sager did not ask any questions about any other topics or issues
during this follow-up interview session. ‘

79. At the time of this telephone interview, H.V. was five months old.

80. At the conclusion of the interview, Mr. Sager told the Blaises that they
should drop their request to become licensed foster parents because their religious
views about handling H.V.’s possible future gender identity issues were
inconsistent with the Department’s policy.

81. Mr. Sager further told the Blaises that if they did not withdraw their
application, then their responses would be noted in the Department’s records and
would negatively impact their ability to be licensed foster parents in Washington in
the future.

82. The Blaises refused to change their responses and refused to withdraw
their foster parent application. Mr. Sager indicated that the Department would send
its denial letter shortly. When the Blaises pressed him for a more definite time
frame, Mr. Sager said the letter would take about two weeks.

83. Mr. Sager did not get back to the Blaises as promised, and the
Department did not send any letter within the anticipated timeframe. In response to
an inquiry from James sent one week later, Mr. Sager texted that he did not “have

an answer yet. I am waiting to hear back from someone.”

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
* * MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 21 230 South Second Street - P.O. Box 22680

Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1363 Page 22 of 44

84. Two weeks later—in mid-March—Mr. Sager again texted James, this
time asking whether James “could meet me and a coworker’ the following week.

85. In an email sent several days later, Mr. Sager explained to James that
he “wanted to meet with you and my co-worker. .. . She is a foster care licensor in
Spokane. She also is our LGBTQ+ lead. I was hoping we all could meet together
as she may have additional resources regarding LGBTQ+ that may be of benefit.
We felt as a department we wanted to provide another opportunity to hopefully
come to a resolution regarding the [Interstate Compact on the Placement of
Children] request for H.V.”

86. The Blaises agreed to meet with Department representatives and be
questioned for a third time. Once again, the sole focus of the interview questions
posed by the representatives of the Department was on the manner in which the
Blaises would respond to H.V.’s possible future sexual orientation and gender
identity when she was a teenager.

87. At the time of this third interview, H.V. was six months old.

88. As they had done during the first two interviews with the Department,
both Gail and James cooperated fully during the third interview session, and again
responded to all of the questions openly, honestly, and in a manner consistent with

their religious beliefs.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 22 230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1364 Page 23 of 44

89. At the end of this third interview, Mr. Sager’s co-worker told the
Blaises that they were at “an impasse” as how to proceed with the foster parent
license application.

90. Several days later, after hearing nothing from the Department, James
contacted Mr. Sager and asked whether the Department “will be able to license us
for foster care? Please send me your decision in writing ASAP.”

91. On March 30, 2020, Mr. Sager emailed James saying only “I don't
have an answer at this time. We are in discussion with others about how to proceed
and I will get an answer to you as soon as we have information to provide.”

92. On April 5, 2020, Mr. Sager again emailed James and again said that
the Department still had not made a decision. According to Mr. Sager, “Licensing
division is still discussing with the appropriate chain of command about how to
proceed, and will have an answer as soon as possible.”

93. Once again, Mr. Sager stated that he had “been asked to provide you
both with a training opportunity that pertains to what we have discussed
previously,” and provided a link that training. That training consisted of a two-hour
course that focused on such topics as “Myths and stereotypes about LGBTQt+
children/youth” and “how to promote the health, safety and well-being of the

children/youth in care.”

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. : MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 23 230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1365 Page 24 of 44

94. The Blaises have completed a portion of their training to become
licensed foster parents. After their first interview with Mr. Sager in January 2020,
Mr. Sager advised the Blaises not to engage in any preparation that would cost
them any money.

95. Mr. Sager told the Blaises that, but for their answers to questions
about H.V.’s hypothetical sexual orientation and gender identity, they were
acceptable applicants to become licensed foster parents.

The Denial of the Blaises’ Application

96. After filing of this lawsuit and nearly three and a half months later, on
June 16, 2020, the Department sent the Blaises a letter denying their application to
become foster parents.

97. The letter acknowledged that there were “many situations” where the
Blaises would be able to support a foster child who identified as LGBTQ+, but not
if supporting services “were not consistent with their religious beliefs.”

98. For example, the letter notes that the Blaises “would support a foster
child and allow the child’s partner in their home and on trips.”

99. The Blaises also stated that “[w]hile we are not willing to commit to
hormone treatment far into the future for an infant, in the very unlikely event that

baby [H.V.] develops gender dysphoria in the future (or any other medical

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
ss MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 24 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1366 Page 25 of 44

condition) we will provide her with loving, medically and therapeutically
appropriate care that is consistent with sound science and our beliefs as Seventh-
day Adventists and Christians.” (Emphasis added).

100. However, the Blaises also expressed that, consistent with their
sincerely held religious beliefs — they could not presently affirm that they would
agree to call H.V. by a name other than her legal name, use pronouns that are
inconsistent with H.V’s birth sex, or support the child in undergoing counseling or
medical procedures to transition to the opposite sex.

101. Concluding that “services that are consistent with [the Blaises]
religious beliefs” would “not meet the Department’s minimum licensing
requirements,” the Department denied the Blaises’ application.

102. The Department has never identified what standard the Blaises’ would
be required to meet in affirming what they would do in any given future situation
before they can know the precise needs of the child or the prevailing relevant
medical advice. The standard instead is flexible, and according to the
Department’s “Family Home Study Questions and Prompts,” “[c]oncerns about
applicants do not automatically result in a denial of a foster care license, or even

require additional training.”

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
: : MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 25 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1367 Page 26 of 44

103. In the meantime, while the Department has delayed and ultimately
denied the Blaises’ application over these uncertainties, the Idaho Department of
Health and Welfare has placed H.V. in foster care with non-relative foster parents
in Idaho and is moving forward to terminate the parental rights of H.V.’s biological
parents.

104. Separate and apart from whether the Blaises are able to serve as foster
parents for H.V., they are committed to becoming licensed foster parents in
Washington.

105. They have an honest and unwavering desire to help children in need
and truly want the opportunity to provide a safe, stable and caring home for
children.

106. Jim and Gail Blais are willing to serve as foster parents for children
and to love and encourage them regardless of their race, sex, religion, national
origin, ancestry, age, disability, familial status, sexual orientation, or gender
identity.

V. CLASS ALLEGATIONS

107. This action properly is maintainable as a class action pursuant to

Federal Rule of Civil Procedure 23(b)(2).

108. Class Definition: The Rule 23(b)(2) class is defined as follows:

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
* ° MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 26 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1368 Page 27 of 44

All individuals who applied for a foster care license with the

Washington Department of Children, Youth and Families at any time

after July 2018 and who were denied a foster care license on the basis

of their sincerely-held religious beliefs.

109. The following people are excluded from the Class: (1) any Judge or
Magistrate presiding over this action and members of their families; (2) persons
whose claims in this matter have been finally adjudicated on the merits or
otherwise released; (3) Plaintiffs’ counsel and Defendant’s counsel; and (4) the
legal representatives, successors, and assigns of any such excluded persons.

110. The proposed class definition is precise, objective and presently
ascertainable, and it is administratively feasible for the Court easily to ascertain
whether a particular individual is a member of the class.

111. Numerosity: On information and belief, the members of the class are
so numerous that joinder of all members of the class is impracticable. Members of
the Class can be identified through Defendant’s records and discovery.

112. Commonality: Certification of the class is desirable and proper
because there are questions of law and fact common to all members of class. Such
common questions for the Class include, but are not necessarily limited to, the

following:

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
: : MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 27 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1369 Page 28 of 44

a. Whether the Department’s interpretation and enforcement of its
LGBTQ+ policies places an undue burden on religious adherents;

b. | Whether Department officials have unfettered discretion that is
not tied to particularized, objective criteria in assessing foster care license
applications;

C. Whether the Department applies foster child placement policies
to decisions relating to foster care license applications;

d. | Whether the Department accommodates _ sincerely-held
religious beliefs in its decisions regarding foster care license applications;

e. Whether the Department could satisfy its goal of protecting
LGBTQ+ youth in other ways less restrictive to religion;

113. Typicality: Certification of the class is desirable and proper because
Plaintiffs’ claims are typical of the claims of other members of the Class that
Plaintiffs seek to represent.

114. Adequate Representation: Certification of the class is desirable and
proper because Plaintiffs will fairly and adequately protect the interests of the
Class they seek to represent. There are no conflicts of interest between Plaintiffs’
claims and those of other members of the Class, and Defendant has no defenses

unique to Plaintiffs. Plaintiffs are cognizant of their duties and responsibilities to

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
* . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 28 230 South Second Street « P.O, Box 22680

Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1370 Page 29 of 44

the Class. Plaintiffs’ attorneys are qualified, experienced and able to conduct the
proposed class action litigation.

115. This action should proceed as a class action under Fed. R. Civ. P.
23(b)(2) because Defendant has acted or refused to act on grounds generally
applicable to the Class, so that final injunctive relief or corresponding declaratory
relief is appropriate respecting the class as a whole.

116. Policies Generally Applicable to the Class: Certification of the
Class is desirable and proper because Defendant has acted or refused to act on
grounds generally applicable to the Class as a whole, thereby requiring the Court’s
imposition of uniform relief to ensure compatible standards of conduct toward the
members of the Class and making final injunctive relief appropriate with respect to
the Class as a whole. Defendant’s policies that Plaintiffs challenge apply and
affect members of the Class uniformly, and Plaintiffs’ challenge of these policies
hinges on Defendant’s conduct with respect to the Class as a whole, not on facts or
law applicable only to Plaintiffs.

117. Superiority: Certification of the class is desirable and proper because
class proceedings are superior to all other available methods for the fair and
efficient adjudication of this controversy. Individual litigation would increase the

delay and expense to all parties and the Court and would require duplicative

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. . MEYER, FLUEGGE & TENNEY, P.S,
Permanent Injunction - 29 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1371 Page 30 of 44

consideration of the common legal and factual issues presented. By contrast, a
class action presents far fewer management difficulties and provides the benefits of
single adjudication, economy of scale, and comprehensive supervision by a single
Court. Economies of time, effort, and expense will be fostered and uniformity of
decisions will be ensured.
COUNT I
42 U.S.C. § 1983
VIOLATION OF THE FIRST AMENDMENT
TO THE U.S. CONSTITUTION
FREE EXERCISE CLAUSE —INDIVIDUALIZED ASSESSMENT

118. Plaintiffs reallege and incorporate by reference all the foregoing
paragraphs and all subparagraphs as if they were fully set forth herein.

119. The Department’s denial of the Blaises’ application for a foster
license places a substantial burden on their religious exercise by forcing them to
choose between the opportunity to be considered as foster parents, and potentially
adoptive parents, for their great-granddaughter and maintaining their religious
beliefs.

120. The Department’s denial of the Class members’ applications for a
foster license places a substantial burden on their religious exercise by forcing

them to choose between the opportunity to be considered as foster parents and

maintaining their religious beliefs.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
e e MEYER, FLUEGGE & TENNEY, P.S,
Permanent Injunction - 30 230 South Second Street » P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1372 Page 31 of 44

121. The Department’s denial of the Blaises’ and Class members’
applications also imposes a substantial burden on their religious exercise by
forcing them to choose between the opportunity to be considered as foster parents
for other children in need and maintaining their religious beliefs.

122. The Department’s ultimate decision to deny the Blaises’ and Class
members’ applications was based on an individualized assessment of their
religious beliefs and their responses to the Department’s questions.

123. When a law or policy gives the government discretion to make case-
by-case decisions based on the unique circumstances of a particular situation, strict
scrutiny is required.

124. The Department lacks a compelling governmental interest in requiring
the Blaises or other foster-care applicants proactively to affirm how they will
respond to a hypothetical situation that may or may not happen sometime in the
future.

125. To the extent the Department has a compelling governmental interest,
there are other ways it could meet that interest that are less restrictive to religion.
126. Absent declaratory and injunctive relief, the Blaises and Class members
have been, and will continue to be, irreparably harmed by the Department’s

actions.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. , MEYER, FLUEGGE & TENNEY, P.S.
Permanent Inj unction - 31 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1373 Page 32 of 44

COUNT II
42 U.S.C. § 1983
VIOLATION OF THE FIRST AMENDMENT
TO THE U.S. CONSTITUTION
FREE EXERCISE CLAUSE —IMPOSING SPECIALIZED
DISABILITIES ON THE BASIS OF RELIGIOUS BELIEF

127. Plaintiffs reallege and incorporate by reference all the foregoing
paragraphs and all subparagraphs as if they were fully set forth herein.

128. The Blaises and Class members are qualified to be licensed as foster
parents and were denied a license only because they stated they would support a
hypothetical foster child who might identify as LGBTQ+ consistent with their
religious beliefs.

129. The Department denied the Blaises’ and Class members’ applications
because providing services that are consistent with their religious beliefs would
“not meet the Department’s minimum licensing requirements.

130. Barring the Blaises and Class members, based on their religious
beliefs, from providing any foster care services, even for their own great-
granddaughter, violates their constitutional rights.

131. The First Amendment excludes all governmental punishment of

religious beliefs as such.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 32 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1374 Page 33 of 44

132. The government cannot punish the expression of religious beliefs that
it considers false or impose special disabilities on the basis of religious views or
religious status.

133. Such - governmental punishment of religious beliefs is never
permissible.

134. The Department’s denial of the Blaises’ and Class members’ foster
care license based on their religious beliefs was per se unconstitutional under the
Free Exercise Clause.

135. Absent declaratory and injunctive relief, the Blaises and Class
members have been, and will continue to be, irreparably harmed by the
Department’s actions.

COUNT Il
42 U.S.C. § 1983
VIOLATION OF THE FIRST AMENDMENT
TO THE U.S. CONSTITUTION
FREE EXERCISE CLAUSE —NOT NEUTRAL

136. Plaintiffs reallege and incorporate by reference all the foregoing
paragraphs and all subparagraphs as if they were fully set forth herein.

137. Government action is not “neutral” if it “restrict[s] practices because

of their religious motivation.” Church of the Lukumi Babalu Aye, Inc. v. City of

Hialeah, 508 U.S. 520, 533 (1993).

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
* * MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 33 230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1375 Page 34 of 44

138. “Facial neutrality is not determinative.” Lukumi, 508 U.S. at 534.
Rather the Free Exercise Clause also forbids “covert suppression” of religion and
“subtle departures from neutrality.” Jd.

139. On information and belief, the Department’s policy here was
motivated traditional religious beliefs about sexuality and gender identity.

140. The Department excludes potential foster parents who will not
“affirm” LGBTQ+ children in specific ways, even if such acquiescence violates
the foster parents’ own sincerely-held religious beliefs.

141. The denial of the Blaises’ and Class members’ applications for a
foster license places via non-neutral proceedings imposed a substantial burden on
their religious exercise by forcing them to choose between the opportunity to be
considered as foster parents and maintaining their religious beliefs.

142. The policy imposed a substantial burden on the Blaises’ and Class
members’ religious exercise by forcing them to choose between the opportunity to
be considered as foster parents and maintaining their religious beliefs.

143. The Blaises and Class members are entitled to be evaluated as foster
parents via a process that is not biased against their religious beliefs.

144. At minimum, a government policy that is not neutral triggers strict

scrutiny.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. e MEYER, FLUEGGE & TENNEY, P.S.
Permanent Inj unction - 34 230 South Second Street - P.O. Box 22680

Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1376 Page 35 of 44

145. The Department lacks a compelling governmental interest in requiring
the Blaises or other foster-care applicants to proactively affirm how they will
respond to a hypothetical situation that may or may not happen sometime in the
future.

146. To the extent the Department has a compelling governmental interest,
there are other ways it could meet that interest that are less restrictive to religion.

147. Absent declaratory and injunctive relief, the Blaises and Class
members have been, and will continue to be, irreparably harmed by the
Department’s actions.

COUNT IV
42 U.S.C. § 1983
VIOLATION OF THE FIRST AMENDMENT
TO THE U.S. CONSTITUTION
FREE SPEECH—COMPELLED SPEECH

148. Plaintiffs reallege and incorporate by reference all the foregoing
paragraphs and all subparagraphs as if they were fully set forth herein.

149. The Government cannot compel a party “to be an instrument for
fostering public adherence to an ideological point of view.” Wooley v. Maynard,
430 U.S. 705, 715 (1977).

150. Government regulations that “target speech based on_ its

communicative content ... are presumptively unconstitutional and may be justified

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
* * MEYER, FLUEGGE & TENNEY, P.S,
Permanent Injunction - 35 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1377 Page 36 of 44

only if the government proves that they are narrowly tailored to serve compelling
state interests.

151. “[F]reedom of speech includes both the right to speak freely and the
right to refrain from speaking at all... . Compelling individuals to mouth support
for views they find objectionable violates [a] cardinal constitutional command”
and should be “universally condemned.” Janus, 138 S. Ct. 2448, 2463 (2018).
Indeed,

152. The Blaises’ great-granddaughter is an infant and, like most children
in foster care, may never identify as LGBTQ+.

153. Requiring foster parents to affirm as an ideological matter the state’s
views on sexual orientation and gender identity, regardless of whether those views
will ever be implicated in providing foster care is a requirement of speech, not
conduct.

154. By requiring the Blaises and Class members, as a condition for getting
a license, to affirm what they would do in a hypothetical situation that might never
arise, the state is compelling speech to foster adherence to the government’s

preferred point of view.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
: . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 36 230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1378 Page 37 of 44

155. The Department does not have a compelling interest in forcing the
Blaises to affirm that they will speak in certain ways regarding hypothetical issues
that may or may not ever arise.

156. To the extent the Department alleges a compelling interest, there are
other ways to meet that interest that are less restrictive of religion.

157. Absent declaratory and injunctive relief, the Blaises and Class
members have been, and will continue to be, irreparably harmed by the

Department’s actions.

COUNT V
42 US.C. § 1983
VIOLATION OF THE FOURTEENTH AMENDMENT
TO THE U.S. CONSTITUTION
SUBSTANTIVE DUE PROCESS
(On Behalf of Plaintiff James and Gail Blais Individually)

158. Plaintiffs reallege and incorporate by reference all the foregoing
paragraphs and all subparagraphs as if they were fully set forth herein.

159. Substantive due process forbids the government from arbitrarily
interfering in “those privileges long recognized at common law as essential to the
orderly pursuit of happiness” by a free people. Meyer v. Nebraska, 262 U.S. 390,

399 (1923).

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
: . MEYER, FLUEGGE & TENNEY, PS,
Permanent Injunction - 37 230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1379 Page 38 of 44

160. Such privileges include the right to maintain family relationships
without undue interference by the government.

161. These rights and privileges extend beyond immediate family members
to protect the right of extended family members to maintain familial relationships
without undue government interference.

162. At minimum, substantive due process supports the Blaises’ right to be
considered as foster parents for their great-granddaughter without undue
government interference.

163. The state’s policy bars the Blaises from being considered as foster
parents to their great-granddaughter unless they agree affirm the state’s approach
to LGBTQ+ children, even though their great-granddaughter is still an infant, may
never identify as LGBTQ+, or could be adopted before such concerns arise.

164. The policy thus unduly interferes with the Blaises’ substantive due
process right as family to be considered as foster parents for their great-
granddaughter.

165. Absent declaratory and injunctive relief, the Blaises have been, and

will continue to be, irreparably harmed by the Department’s actions.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
: . MEYER, FLUEGGE & TENNEY, PS.
Permanent Injunction - 38 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1380 Page 39 of 44

COUNT VI
42 U.S.C. § 1983
VIOLATION OF THE FIRST AMENDMENT
TO THE U.S. CONSTITUTION
FREE EXERCISE—HYBRID RIGHTS

166. Plaintiffs reallege and incorporate by reference all the foregoing
paragraphs and all subparagraphs as if they were fully set forth herein.

167. Government restrictions that burden religion are subject to strict
scrutiny when the restrictions simultaneously burden other constitutional rights.
Employment Div. v. Smith, 494 U.S. 872, 881 (1990).

168. The state’s policy impinges not only on the Blaises’ and Class
members’ freedom of religion, but also on their rights to freedom of speech and
their substantive due process right to have equal access to the right to foster and
potentially adopt their own kin without having to accept the government’s
viewpoints on child rearing.

169. Because the government regulations at issue infringe multiple
constitutional rights, strict scrutiny applies.

170. The Department lacks a compelling governmental interest in requiring
the Blaises or other foster-care applicants to proactively affirm how they will

respond to a hypothetical situation that may or may not happen sometime in the

future.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFEICES OF
° ° MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 39 230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 _ filed 12/09/20 PagelD.1381 Page 40 of 44

171. To the extent the Department has a compelling governmental interest,
there are other ways it could meet that interest that are less restrictive to religion.

172. Absent declaratory and injunctive relief, the Blaises and Class
members have been, and will continue to be, irreparably harmed by the
Department’s actions.

COUNT VII
42 U.S.C. § 1983
VIOLATION OF THE FIRST AMENDMENT
TO THE U.S. CONSTITUTION
UNCONSTITUTIONAL CONDITIONS

173. Plaintiffs reallege and incorporate by reference all the foregoing
paragraphs and all subparagraphs as if they were fully set forth herein.

174. In the same way that the Department generally cannot directly compel
speech or the free exercise of religion, it cannot do so indirectly through
conditioning a government benefit (here a license to foster). Agency for Int’l Dey.
v. AOST, 570 U.S. 205, 214 (2013).

175. The ability of the Blaises and Class members to apply to the
government for a license that would allow them to serve as foster parents is a
valuable benefit.

176. That benefit cannot be conditioned on the Blaises or Class members

giving up constitutional rights.

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
° 2 MEYER, FLUEGGE & TENNEY, P.S,
Permanent Injunction - 40 230 South Second Street . P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1382 Page 41 of 44

177. The Department has conditioned the issuance of a license on the
Blaises’ and Class members’ agreement to abandon rights under the First and
Fourteenth Amendments.

178. For all the reasons above, the Department cannot condition a
government benefit on unconstitutional actions without satisfying strict scrutiny.

PRAYER FOR RELIEF

Plaintiffs Gail and James Blais, individually and on behalf of all others
similarly situated, request that the Court enter a judgment in their favor and against
Defendant Hunter, Secretary of Washington State Department of Children, Youth
and Families for the following:

1. Declaratory relief that the denial of the Blaises’ and Class members’
application to become licensed foster parents by Defendant and the Department
based on the Blaises’ and Class members’ sincerely-held religious beliefs is
unconstitutional;

2.  Injunctive relief, requiring Defendant and the Department he oversees
to grant the Blaises’ foster parent application.

3.  Injunctive relief, enjoining Defendant and the Department he oversees
from enforcing or threatening to enforce Policy 6900 or any other Department

policy, regulation or practice with regard to the Department’s consideration of an

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
. . . MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 41 230 South Second Street - P.O. Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1383 Page 42 of 44

application to become licensed foster parents in a manner that conflicts with the
applicant’s sincerely held religious beliefs concerning sexual orientation or gender
identity.

4. Reasonable attorneys’ fees and costs of suit under 42 U.S.C. § 1988 or
such other authority as may authorize such an action; and

5. Such other and further relief as the Court deems just and proper.

RESPECTFULLY SUBMITTED this 9" day of December, 2020.

s/ Jerome R. Aiken

JEROME R. AIKEN, WSBA #14647
Attorneys for Plaintiffs

James Blais and Gail Blais

Meyer, Fluegge & Tenney, P.S.

Phone: 509/575-8500 — Fax: 509/575-4676
Email: aiken@mftlaw.com

s/ Todd R. McFarland

TODD R. McFARLAND

General Conference of Seventh-day Adventists
Attorneys for Plaintiffs

Phone: 301/680-6321; Fax: 301/680-6329
Email: McFarlandT@adventist.org

Admitted pro hac vice

s/ Andrew G. Schultz

ANDREW G. SCHULTZ, NM No. 3090
Rodey, Dickason, Sloan, Akin & Robb, P.A.
Attorneys for Plaintiffs

Phone: 505/765-5900; Fax: 505/768-7395
Email: aschultz@rodey.com

Admitted pro hac vice

Second Amended Class Action Complaint for

Declaratory Relief and Preliminary and LAW OFFICES OF
* ° MEYER, FLUEGGE & TENNEY, P.S.
Permanent Injunction - 42 230 South Second Street . P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 
Case 2:20-cv-00187-SMJ ECF No. 72 _ filed 12/09/20 PagelD.1384 Page 43 of 44

CERTIFICATE OF TRANSMITTAL

I hereby certify under penalty of perjury of the laws of the state of
Washington that on December 9, 2020, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF System which will

10

11

12

13

14

15

16

17

18

19

20

automatically provide service on the below listed parties:

 

For Plaintiffs James and Gail Blais:

Mr. Todd R. McFarland, Associate General Counsel
General Conference of Seventh-Day Adventists
12501 Old Columbia Pike

Silver Spring, MD 20904
McFarlandT@adventist.org

Mr. Andrew G. Schultz

Rodey, Dickason, Sloan, Akin & Robb, P.A.
P.O. Box 1888

Albuquerque, NM 87103
aschultz@rodey.com

X_ via CM/ECF

X__ via CM/ECF

 

For Defendant Ross Hunter:

Mr. Jeffrey C. Grant, Assistant Attorney General
Office of the Attorney General

88 Fifth Avenue, Suite 2000

Seattle, WA 98104

Jeffrey.grant@atg.wa.gov

X_ via CM/ECF

 

For Defendant Ross Hunter:

Mr. Daniel Judge, Senior Counsel

Mr. Drew Pugsley, Assistant Attorney General
Office of the Attorney General

7141 Cleanwater Drive SW / P.O. Box 40124
Olympia, WA 98504-0124

 

 

 

Daniel. Judge@atg.wa.gov / Drew.Pugsley@atg.wa.gov

X_ via CM/ECF

 

 

Second Amended Class Action Complaint for
Declaratory Relief and Preliminary and
Permanent Injunction - 43

LAW OFFICES OF
MEYER, FLUEGGE & TENNEY, P.S.
230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 2:20-cv-00187-SMJ ECF No. 72 filed 12/09/20 PagelD.1385 Page 44 of 44

 

For Amicus Curiae Center for Children & Youth Justice:
Mr. Ryan C. Castle

Castle Law Firm, PLLC

1313 E. Maple Street, Suite 213

Bellingham, WA 98225

ryan@ryancastlelawfirm.com

X_ via CM/ECF

 

For Amicus Curiae Center for Children & Youth Justice:
Mr. Daniel J. Shih

Susman Godfrey L.L.P.

1201 Third Avenue, Suite 3800

Seattle, WA 98101-3000

dshih@susmangodfrey.com

 

X_ via CM/ECF

 

 

/s Sheryl A. Jones

SHERYL A. JONES, Legal Assistant
Meyer, Fluegge & Tenney, P.S.

jones@mftlaw.com

Second Amended Class Action Complaint for
Declaratory Relief and Preliminary and
Permanent Injunction - 44

LAW OFFICES OF
MEYER, FLUEGGE & TENNEY, P.S.
230 South Second Street - P.O, Box 22680
Yakima, WA 98907-2680
Telephone (509) 575-8500

 

 

 
